     2:22-cv-02308-RMG     Date Filed 07/19/22   Entry Number 1    Page 1 of 55




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF SOUTH CAROLINA
                         CHARLESTON DIVISION

IN RE: AQUEOUS FILM-FORMING FOAMS                         MDL NO.: 2873
PRODUCTS LIABILITY LITIGATION                             2:18-mn-2873-RMG
ANDREW JON KELLER, and                                   :
GAIL KELLER,                                             :
                                                         :
       Plaintiffs,                                       :
                                                         :
v.                                                       : COMPLANT
                                                         :
THE 3M COMPANY (f/k/a Minnesota Mining                   : Case No. 2:22-cv-2308-RMG
and Manufacturing Co.), AGC CHEMICALS                    :
AMERICAS, INC., AMEREX CORP., ARCHROMA,                  :
U.S., INC., ARKEMIA, INC., BASF CORP.,                   :
Individually and as Successor in Interest to Ciba, Inc., :
BUCKEYE CORP., CARRIER GLOBAL CORP.,                     :
CHEMDESIGN PRODUCTS, INC., CHEMGUARD, :
INC., CHEMICALS, INC., CHUBB FIRE, LTD.,                 :
CLARIANT CORP., Individually and as Successor in :
Interest to Sandoz Chemical Corp., CORTEVA, INC., :
Individually and as Successor in Interest to DuPont      :
Chemical Solutions Enterprise, DEEPWATER                 :
CHEMICALS, INC., DUPONT DE NEMOURS, INC., :
Individually and as Successor in Interest to DuPont      :
Chemical Solutions Enterprise, DYNAX CORP., E. I. :
DUPONT DE NEMOURS AND CO., Individually and :
as Successor in Interest to DuPont Chemical Solutions :
Enterprise, KIDDE PLC, INC., KIDDE-FENWAL,               :
INC., Individually and as Successor in Interest to       :
Kidde Fire Fighting, Inc., NATION FORD CHEMCIAL:
CO., NATIONAL FOAM, INC., THE CHEMOURS CO.,:
Individually and as Successor in Interest to DuPont      :
Chemical Solutions Enterprise, THE CHEMOURS CO.:
FC, LLC, Individually and as Successor in Interest to :
DuPont Chemical Solutions Enterprise, TYCO FIRE :
PRODUCTS, LP, Individually and as Successor in           :
Interest to The Ansul Company, UNITED                    :
TECHNOLOGIES CORP., UTC FIRE & SECURITY :
AMERICA’S CORP., and DOE DEFENDANTS 1-20, :
                                                         :
Defendants.                                              :
     2:22-cv-02308-RMG            Date Filed 07/19/22   Entry Number 1   Page 2 of 55




                         PLAINTIFFS’ ORIGINAL COMPLAINT
                           AND DEMAND FOR JURY TRIAL

      COMES NOW Plaintiffs, ANDREW JON KELLER (“Plaintiff” or collectively

“Plaintiffs”), and GAIL KELLER (“Spouse of Plaintiff” or collectively “Plaintiffs”) by

and through their undersigned counsel, hereby files this Complaint against: THE 3M

COMPANY         (f/k/a   Minnesota      Mining   and    Manufacturing    Company),      AGC

CHEMICALS AMERICAS, INC., AMEREX CORPORATION, ARCHROMA U.S.,

INC., ARKEMIA, INC., BASF CORPORATION, Individually and as Successor in

Interest   to    Ciba,    Inc.,    BUCKEYE       CORPORATION,       CARRIER     GLOBAL

CORPORATION,             CHEMDESIGN         PRODUCTS,      INC.,   CHEMGUARD,        INC.,

CHEMICALS, INC., CHUBB FIRE, LTD., CLARIANT CORP., Individually and as

Successor in Interest to Sandoz Chemical Corporation, CORTEVA, INC., Individually

and as Successor in Interest to DuPont Chemical Solutions Enterprise,

DEEPWATER CHEMICALS, INC., DUPONT DE NEMOURS, INC., Individually

and as Successor in Interest to DuPont Chemical Solutions Enterprise, DYNAX

CORPORATION, E. I. DUPONT DE NEMOURS AND CORPOTAION, Individually

and as Successor in Interest to DuPont Chemical Solutions Enterprise, KIDDE PLC,

INC., KIDDE-FENWAL, INC., Individually and as Successor in Interest to Kidde

Fire Fighting, Inc., NATION FORD CHEMCIAL COMPANY, NATIONAL FOAM,

INC., THE CHEMOURS COMPANY, Individually and as Successor in Interest to

DuPont Chemical Solutions Enterprise, THE CHEMOURS COMPANY FC, LLC,

Individually and as Successor in Interest to DuPont Chemical Solutions Enterprise,

TYCO FIRE PRODUCTS, LP, Individually and as Successor in Interest to The Ansul


PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    2
      2:22-cv-02308-RMG         Date Filed 07/19/22      Entry Number 1        Page 3 of 55




Company, UNITED TECHNOLOGIES CORPORATION, UTC FIRE & SECURITY

AMERICA’S CORPORATION, and DOE DEFENDANTS 1-20, fictitious names

whose present identifies are unknown (collectively “Defendants”) and alleges, upon

information and belief, as follows:

                                      INTRODUCTION

       1.      Aqueous Film Forming Foam (“AFFF”) is a specialized substance

designed to extinguish petroleum-based fires. It has been used for decades, and

continues to be used, by civilian and military firefighters to put out fires and in

training and response exercises in preparation for fires.

       2.      AFFF contains synthetic, toxic per- and polyfluoroalkyl substances

collectively known as “PFAS.” 1 PFAS bind to proteins in the blood of animals and

humans exposed to such materials and not only remain and persist over long periods

of time, but, due to their unique chemical structure, accumulate and build up in the

blood/body of the exposed individuals with each additional exposure, no matter how

small. PFAS can travel long distances, move through soil, seep into groundwater, or

be carried through air.

       3.      Defendants collectively designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, sold and/or



1 PFAS” includes but is not limited to: perfluorooctanoic acid (“PFOA”) and perfluorooctane sulfonic
acid (“PFOS”) and related chemicals, including but not limited to those that degrade to PFOA and/or
PFOS, and including but not limited to C3-C-15 PFAS chemicals, such as perfluorohexanesulfonate
(PFHxS), perfluorononanoate (PFNA), perfluorobutanesulfonate (PFBS), perfluorohexanoate
(PFHxA), perfluoroheptanoate (PFHpA), perfluoroundecanoate (PFUnA), perfluorododecanoate
(PFDoA),    HFPA      Dimer      Acid    (CAS     #    13252      -13-   6/C3    Dimer    Acid/P-08-
508/FRD903/GX903/C3DA/GenX), and HFPA Dimer Acid Ammonium Salt (CAS#62037-80-
3/ammonium salt of C3 Dimer Acid/P-08-509/FRD902/GX903/GenX).

PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    3
     2:22-cv-02308-RMG      Date Filed 07/19/22   Entry Number 1    Page 4 of 55




otherwise handled and/or used AFFF with knowledge that it contained highly toxic

and long lasting PFASs, which would contaminate Plaintiff’s blood and/or body with

PFAS, and the resultant biopersistence and bioaccumulation of such PFAS in the

blood and/or body of Plaintiff. Further, defendants designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or

products added to AFFF which contained PFAS for use in firefighting.

      4.     As a result, Plaintiff was exposed to AFFF containing PFAS and suffered

severe personal injuries as a result.

      5.     This action is brought by Plaintiffs for injunctive, equitable, and

declaratory relief for injuries arising from the intentional, knowing, reckless and/or

negligent acts and/or omissions of Defendants in connection with contamination of

the blood and/or body of the Plaintiff with PFAS through the design, marketing,

development, manufacture, distribution, release, training, and sale of AFFF

containing PFAS and/or underlying chemicals and/or products added to AFFF which

contained PFAS.

                          JURISDICTION AND VENUE

      6.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332(a) because complete diversity exists between Plaintiff and

Defendants and the amount in controversy exceeds $75,000.00, exclusive of interests

and cost.

      7.     The Court also has supplemental jurisdiction pursuant to 28 U.S.C. §



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    4
     2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1     Page 5 of 55




1367.

        8.   Plaintiffs are filing this Complaint as permitted by Case Management

Order No. 3 (“CMO #3”) issued by Judge Richard M. Gergel of this Court. Pursuant

to CMO #3, Plaintiffs designate the United States District Court for the Western

District of Missouri as the “home venue” where Plaintiffs would have otherwise filed

suit pursuant to 28 U.S.C. § 1391. But for CMO #3, venue is proper in the United

States District Court for the Western District of Missouri in that the events or

omissions giving rise to the claim occurred in that district. Plaintiffs respectfully

requests that, at the time of the transfer of this action back to trial court for further

proceedings, this case be transferred to the United States District Court for the

Western District of Missouri.

        9.   The United States District Court for the Western District of Missouri

has personal jurisdiction over the Defendants because at all times relevant to this

lawsuit, the Defendants manufactured, designed, marketed, distributed, released,

promoted and/or otherwise sold (directly or indirectly) PFAS-containing AFFF

products to various locations, such that each Defendant knew or should have known

that said products would be delivered to areas in the Commonwealth of Missouri for

active use by Plaintiff during the course of training and firefighting activities.

Therefore, the exercise of jurisdiction over the Defendants by the United States

District Court for the Western District of Missouri of does not offend traditional

notions of fair play and substantial justice.




PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    5
     2:22-cv-02308-RMG         Date Filed 07/19/22   Entry Number 1   Page 6 of 55




                                        PARTIES

A.    PLAINTIFFS

      10.    Plaintiff, ANDREW JON KELLER, is a citizen of the United States of

America and a current resident of Redmond, Deschutes County, Oregon.

      11.    Plaintiff, ANDREW JON KELLER, was born on November 1, 1959.

      12.    Spouse of Plaintiff, is GAIL KELLER, is a citizen of the United States

of America and a current resident of Redmond, Deschutes County, Oregon.

      13.    Plaintiff and Spouse of Plaintiff were married on September 26, 1992

and continue to be married and reside with each other to the present.

      14.    Plaintiff   was     exposed   to   Defendants’   fluorochemical   products

throughout his many years of service as a military firefighter for the United States

Air Force, stationed at Whiteman Air Force Base located in Johnson County,

Missouri, including but not limited to; through routine trainings, as well as active

firefighting while in service as a military firefighter for the United States Air Force.

      15.    As a result of his exposure to Defendants’ fluorochemical products,

Plaintiff was diagnosed with prostate cancer, which has caused Plaintiff to undergo

removal of his prostate, and to suffer severe personal injuries, pain, and emotional

distress.

      16.    The injuries, pain, suffering, and emotional distress were caused by

Defendants’ fluorochemical products.

B.    DEFENDANTS

      17.    The term “Defendant” or “Defendants” refers to all Defendants named



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    6
     2:22-cv-02308-RMG      Date Filed 07/19/22    Entry Number 1    Page 7 of 55




herein jointly and severally.

      18.    Any and all references to a Defendant or Defendants in this Complaint

include any predecessors, successors, parents, subsidiaries, affiliates and divisions of

the named Defendants.

      19.    When reference is made in this Complaint to any act or omission of any

of the Defendants, it shall be deemed that the officers, directors, agents, employees,

or representatives of the defendants committed or authorized such act or omission,

or failed to adequately supervise or properly control or direct their employees while

engaged in the management, direction, operation, or control of the affairs of

defendants, and did so while acting within the scope of their duties, employment or

agency.

      20.    At all times relevant to this litigation, upon information and belief, each

of the defendants designed, developed, manufactured, marketed and/or sold the

AFFF or fluorochemical products containing PFOA or PFOS used by firefighters

throughout the country, including the Commonwealth of Missouri.

      21.    Each of the Defendants designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, sold and/or

otherwise handled and/or designed and manufactured components of and/or used

AFFF containing PFAS that are used in firefighting training and response exercises

which are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in Plaintiff’s blood and/or body.



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    7
    2:22-cv-02308-RMG      Date Filed 07/19/22   Entry Number 1    Page 8 of 55




      22.   Defendant,    3M    COMPANY          (f/k/a/   Minnesota   Mining     and

Manufacturing Company) (“3M”) is a Delaware Corporation and conducts business

throughout the United States, with its principal place of business located at 3M

Center, St. Paul, MN 55144. Defendant may be served via Alternative Service

as set forth in CMO #6.

      23.   Defendant, 3M COMPANY manufactured, distributed, and sold

fluorochemical products and AFFF from the 1960s until 2002.

      24.   Defendant, AGC CHEMICALS AMERICAS INC. (“AGC Americas”) is

a corporation organized and existing under the laws of Delaware, having a principal

place of business in 11175 Cicero Drive, Alpharetta, GA 30022. Defendant may be

served via Alternative Service as set forth in CMO #6D.

      25.   AGC Americas operates throughout the United States, manufacturing

glass, electronic displays and chemical products, including resins, water and oil

repellants, greenhouse films, silica additives, and various fluorointermediates,

including those used in AFFF products.

      26.   Defendant, AMEREX CORPORATION (“Amerex”) is a corporation

organized and existing under the laws of Alabama, having a principal place of

business at 7595 Gadsden Highway, Trussville, AL 35173. Defendant may be

served via Alternative Service as set forth in CMO #6A.

      27.   Defendant ARCHROMA U.S., INC. (“Archroma”), is a corporation

organized and existing under the laws of Delaware, having a principal place of

business at 4000 Monroe Road, Charlotte, NC 28205. Defendant may be served



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    8
     2:22-cv-02308-RMG      Date Filed 07/19/22    Entry Number 1    Page 9 of 55




via Alternative Service as set forth in CMO #6A.

      28.    Defendant, ARKEMA, INC. (“Arkema”) is a corporation organized and

existing under the laws of Missouri, having a principal place of business at 900 First

Avenue, King of Prussia, PA 19406. Defendant may be served via Alternative

Service as set forth in CMO #6A.

      29.    Arkema develops specialty chemicals and fluoropolymers.

      30.    Arkema is a successor in interest to Elf Atochem North America and

Atofina Chemicals Inc., which manufactured fluorosurfactants containing PFOA that

was used in AFFF.

      31.    Defendant, BASF CORPORATION (“BASF”) is a corporation

organized and existing under the laws of Delaware, having a principal place of

business at 100 Park Avenue, Florham Park, NJ 07932. Defendant may be served

via Alternative Service as set forth in CMO #6A.

      32.    On information and belief, BASF is the largest affiliate of BASF SE and

the second largest producer and marketer of chemicals and related products in North

America.

      33.    On information and belief, BASF Corporation is the successor in interest

to Ciba-Geigy, Inc., Ciba Specialty Chemicals Company, and Ciba, Inc., a Swiss

specialty chemicals company, that manufactured fluorosurfactants containing PFOA

used in AFFF.

      34.    Defendant, BUCKEYE FIRE EQUIPMENT COMPANY (“Buckeye”)

is a corporation organized and existing under the laws of Ohio, with its principal place



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    9
    2:22-cv-02308-RMG     Date Filed 07/19/22   Entry Number 1    Page 10 of 55




of business at 110 Kings Road, Kings Mountain, NC 28086. Defendant may be

served via Alternative Service as set forth in CMO #6.

      35.   Defendant, CARRIER GLOBAL CORPORATION (“Carrier”), is a

corporation organized and existing under the laws of Delaware, with its principal

place of business at 13995 Pasteur Blvd., Palm Beach Garden, FL 33418. Defendant

may be served via Alternative Service as set forth in CMO #6C.

      36.   Defendant, CHEMDESIGN PRODUCTS, INC. is a corporation

organized and existing under the laws of Texas and having a principal place of

business at 2 Stanton Street, Marinette, WI 54143, that manufactured

fluorosurfactants containing PFOA used in AFFF. D Defendant may be served via

Alternative Service as set forth in CMO #6B.

      37.   Defendant, CHEMGUARD, INC. (“Chemguard”) is a corporation

organized and existing under the laws of Texas, with its principal place of business

at One Stanton Street, Marinette, Wisconsin 54143. Defendant may be served via

Alternative Service as set forth in CMO #6.

      38.   Upon information and belief, Chemguard is a subsidiary of Johnson

Controls International, PLC.

      39.   Defendant, CHEMICALS, INC. (“Chemicals”) is a corporation

organized and existing under the laws of Texas, with its principal place of business

at 12321 Hatcherville Road, Baytown, Texas 77521. Defendant may be served via

Alternative Service as set forth in CMO #6D.

      40.   Defendant, CHUBB FIRE, LTD. (“Chubb”) is a foreign private limited



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    10
    2:22-cv-02308-RMG     Date Filed 07/19/22   Entry Number 1    Page 11 of 55




company, with offices at Littleton Road, Ashford, Westernsex, United Kingdom TW15

1TZ. Upon information and belief, Chubb is registered in the United Kingdom with a

registered number of 134120. Defendant may be served via Alternative Service as

set forth in CMO #6.

      41.    Upon information and belief, Chubb is or has been composed of different

subsidiaries and/or divisions, including but not limited to; Chubb Fire & Security,

Ltd., Chubb Security, PLC, Red Hawk Fire & Security, LLC, and/or Chubb National

Foam, Inc.

      42.    Defendant, CLARIANT CORPORATION (“Clariant”) is a corporation

organized and existing under the laws of New York, having a principal place of

business at 4000 Monroe Road, Charlotte, North Carolina 28205. Defendant may be

served via Alternative Service as set forth in CMO #6A.

      43.    On information and belief, Clariant was formerly known as Sandoz

Chemicals Corporation, and manufactured fluorointermediates used in AFFF

products.

      44.    Defendant, CORTEVA, INC. (“Corteva”) is a corporation organized and

existing under the laws of Delaware, having a principal place of business at 974

Centre Rd., Wilmington, Delaware 19805. Defendant may be served via Alternative

Service as set forth in CMO #6A.

      45.    Defendant, DEEPWATER CHEMICALS, INC. (“Deepwater”) is a

corporation organized and existing under the laws of Delaware, having a principal

place of business at 196122 E. County Road 40, Woodward, OK 73801. Defendant

may be served via Alternative Service as set forth in CMO #6B.

PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    11
    2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1     Page 12 of 55




      46.    Defendant, DUPONT DE NEMOURS INC. (f/k/a DowDuPont, Inc.)

(“Dupont de Nemours Inc.”) is a corporation organized and existing under the laws of

Delaware, having a principal place of business at 974 Centre Road, Wilmington, DE

19805 and 2211 H.H. Dow Way, Midland, MI 48674. Defendant may be served via

Alternative Service as set forth in CMO #6A.

      47.    On June 1, 2019, DowDuPont, Inc. separated its agriculture business

through the spin-off Corteva, Inc.

      48.    Prior to the separation, DowDuPont owned Corteva as a wholly-owned

subsidiary formed in February 2018.

      49.    On June 1, 2019, DowDuPont distributed a pro rata dividend of both

issued and outstanding shares of Corteva common stock to DowDuPont shareholders.

      50.    Corteva holds certain Dow DuPont assets and liabilities including

DowDuPont’s agriculture and nutritional businesses.

      51.    On June 1, 2019 DowDuPont, the surviving entity after the spin-off of

Corteva and another entity known as Dow, Inc., changed its name to DuPont de

Nemours, Inc., to be known as DuPont (“New DuPont”). New DuPont retained assets

in the specialty products business lines following the spin-offs, as well as the balance

of the financial assets and liabilities of E.I. DuPont not assumed by Corteva.

      52.    Defendants E.I. Du Pont de Nemours and Company; The Chemours

Company; The Chemours Company FC, LLC; Corteva, Inc.; and DuPont de Nemours,

Inc. are collectively referred to as “DuPont” throughout this Complaint.

      53.    Defendant, DYNAX CORPORATION (“Dynax”) is a corporation



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    12
    2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1   Page 13 of 55




organized and existing under the laws of Delaware, having a principal place of

business at 79 Westchester Avenue, Pound Ridge, NY 10576. Defendant may be

served via Alternative Service as set forth in CMO #6.

      54.    On information and belief, Dynax entered the AFFF business in 1991

and quickly became a leading global producer of fluorosurfactants and fluorochemical

foam stabilizers used in firefighting foam agents.

      55.    Defendant, E. I. DUPONT DE NEMOURS & COMPANY (“DuPont”)

is a corporation organized and existing under the laws of Delaware, having a

principal place of business is 1007 Market Street, Wilmington, DE 19805. Defendant

may be served via Alternative Service as set forth in CMO #6E.

      56.    DuPont is a successor in interest to DuPont Chemical Solutions

Enterprise (“DuPont Chemical”), a Delaware corporation with a principal place of

business located at 1007 Market Street Wilmington, DE 19898.

      57.    DuPont Chemical was a member of the Telomer Research Program

(“TRP”). As a member it was required to provide a list and volume of products it was

selling in the United States on a yearly basis.

      58.    In a letter addressed to the Office of Pollution Prevention and Toxics

(OPPT) Document Control Office, dated May 14, 2003 and signed by Stephen H.

Korzeniowski, DuPont provided its Telomer-based sales products in the United

States for the year 2002.

      59.    The letter, which was redacted and sent to the USEPA under its PFOA

Stewardship Program, included AFFF sales volume, on an active ingredient pound



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    13
    2:22-cv-02308-RMG      Date Filed 07/19/22   Entry Number 1   Page 14 of 55




basis, as well as its Chemical Abstracts Service (CAS) number and chemical name,

and is included in the PFOA Stewardship Program Docket.

      60.    Defendant, KIDDE PLC, INC. (“Kidde”) is a foreign corporation

organized and existing under the laws of the State of Delaware, having a principal

place of business at One Carrier Place, Farmington, Connecticut 06101. Defendant

may be served via Alternative Service as set forth in CMO #6.

      61.    Upon information and belief, Kidde PLC was formerly known as

Williams Holdings, Inc. and/or Williams US, Inc.

      62.    Defendant, KIDDE-FENWAL, INC. (“Kidde-Fenwal”) is a corporation

organized under the laws of Delaware, having a principal place of business at One

Financial Plaza, Hartford, Connecticut 06101. Kidde-Fenwal is the successor-in-

interest to Kidde Fire Fighting, Inc. (f/k/a Chubb National Foam, Inc. f/k/a National

Foam System, Inc.) (collectively, “Kidde/Kidde Fire”). Defendant may be served

via Alternative Service as set forth in CMO #6.

      63.    Defendant, NATION FORD CHEMICAL COMPANY (“Nation Ford”)

is a corporation organized and existing under the laws of South Carolina, having a

principal place of business at 2300 Bank Street, Fort Smith, SC 29715. Defendant

may be served via Alternative Service as set forth in CMO #6C.

      64.    Defendant, NATIONAL FOAM, INC. (“National Foam”) is a

corporation organized and existing under the laws of Delaware, having a principal

place of business at 141 Junny Road, Angier, NC 27501. Defendant may be served

via Alternative Service as set forth in CMO #6.



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    14
    2:22-cv-02308-RMG      Date Filed 07/19/22   Entry Number 1     Page 15 of 55




      65.    Upon information and belief, National Foam is a subsidiary of Angus

International Safety Group, Ltd.

      66.    Defendant, THE CHEMOURS COMPANY (“Chemours”) is a

corporation organized and existing under the laws of Delaware, having a principle

place of business at 1007 Market Street, Wilmington, DE 19889. Defendant may be

served via Alternative Service as set forth in CMO #6E.

      67.    In 2015, DuPont spun off its “performance chemicals” business to

Chemours along with certain environmental liabilities. Upon information and belief,

at the time of the transfer of its performance chemicals business to Chemours,

DuPont had been sued, threatened with suit and/or had knowledge of the likelihood

of litigation to be filed regarding DuPont’s liability for damages and injuries arising

from the manufacture and sale of fluorochemicals and the products that contain

fluorochemicals.

      68.    Defendant, THE CHEMOURS COMPANY FC, LLC (“Chemours

FC”), a Successor in Interest to DuPont Chemical, is a corporation organized and

existing under the laws of Delaware, having a principal place of business at 1007

Market Street Wilmington, DE 19899. Defendant may be served via Alternative

Service as set forth in CMO #6E.

      69.    Defendant, TYCO FIRE PRODUCTS L.P., Individually and as

Successor in Interest to The Ansul Company (“Tyco”) is a limited partnership

organized under the laws of Delaware, with its principal place of business at 9 Roszel

Road, Princeton, NJ 08540. Defendant may be served via Alternative Service



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    15
    2:22-cv-02308-RMG      Date Filed 07/19/22   Entry Number 1    Page 16 of 55




as set forth in CMO #6.

      70.    Upon information and belief, Tyco is a subsidiary of Johnson Controls

International, PLC.

      71.    Tyco is the successor in interest of The Ansul Company (“Ansul”), having

acquired Ansul in 1990.

      72.    Beginning in or around 1975, Ansul manufactured and/or distributed

and sold AFFF that contained PFOA and PFOA. After Tyco acquired Ansul in 1990,

Tyco/Ansul continued to manufacture, distribute and sell AFFF that contained PFOA

and PFOS.

      73.    Upon information and belief, Tyco acquired the Chemguard brand in

2011 and continues to sell Chemguard AFFF products through its Chemguard

Specialty Chemicals division.

      74.    Defendant,     UNITED       TECHNOLOGIES             COPRPORATION

(“United”) is a foreign corporation organized and existing under the laws of the State

of Delaware and does business throughout the United States. United Technologies

has its principal place of business at 10 Farm Springs Road, Farmington, CT 06032.

Defendant may be served via Alternative Service as set forth in CMO #6.

      75.    United Technologies designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, sold, and/or

otherwise handled and/or used AFFF containing PFAS that are the subject of this

Complaint.

      76.    Defendant, UTC FIRE & SECURITY AMERICAS COPRORATION,



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    16
     2:22-cv-02308-RMG     Date Filed 07/19/22   Entry Number 1    Page 17 of 55




INC. (f/k/a GE Interlogix, Inc.) (“UTC”) is a North Carolina corporation and does

business throughout the United States. UTC has principal place of business at 3211

Progress Drive, Lincolnton, NC 28092. Defendant may be served via Alternative

Service as set forth in CMO #6.

      77.    Upon information and belief, Kidde-Fenwal, Inc. is part of the UTC

Climate Control & Security unit of United Technologies Corporation.

                     GENERAL FACTUAL ALLEGATIONS

A.    THE FLUOROCHEMICALS: PFOA AND PFOS

      78.    Fluorochemical products are man-made chemicals composed of a chain

of carbon atoms in which all but one of the carbon atoms are bonded to fluorine atoms,

and the last carbon atom is attached to a functional group. The carbon-fluorine bond

is one of the strongest chemical bonds that occur in nature, which is a reason why

these molecules are so persistent. Fluorochemical products that contain eight carbon-

fluorine bonds are sometimes referred to as “C8.”

      79.    Fluorochemical products are highly water soluble, which facilitates the

ease at which they spread throughout the environment, contaminating soil,

groundwater and surface water. This mobility is made more dangerous by their

persistence in the environment and resistance to biologic, environmental, or

photochemical degradation.

      80.    Fluorochemical products are readily absorbed in animal and human

tissues after oral exposure and accumulate in the serum, kidney, and liver. They have

been found globally in water, soil, and air as well as in human food supplies, breast



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    17
    2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1      Page 18 of 55




milk, umbilical cord blood, and human blood serum.

      81.    Fluorochemical products are persistent in the human body. A short-term

exposure can result in a body burden that persists for years and can increase with

additional exposures.

      82.    Since fluorochemical products were first produced, information has

emerged showing negative health effects caused by exposure to fluorochemical

products.

      83.    According to the United States Environmental Protection Agency

(“EPA”), studies indicate that exposure to fluorochemical products over certain levels

may result in developmental effects to fetuses during pregnancy or to breastfed

infants (e.g., low birth weight, accelerated puberty, skeletal variations), cancer (e.g.,

testicular, kidney), liver effects (e.g., tissue damage), immune effects (e.g., antibody

production and immunity), thyroid effects and other effects (e.g., cholesterol changes).

      84.    The EPA has also warned that there is suggestive evidence of

carcinogenic potential for fluorochemical products.

      85.    The EPA has noted that drinking water can be an additional source of

PFC’s in the small percentage of communities where these chemicals have

contaminated water supplies. “In communities with contaminated water supplies,

such contamination is typically localized and associated with a specific facility, for

example…an airfield at which fluorochemical products were used for firefighting.”

      86.    The EPA has issued Health Advisory Levels of 70 parts per trillion

(“ppt”) for PFOA and PFOS found in drinking water. When both PFOA and PFOS are



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    18
     2:22-cv-02308-RMG     Date Filed 07/19/22   Entry Number 1   Page 19 of 55




found in drinking water, the combined concentrations should not exceed 70 ppt.

B.    AQUEOUS FILM-FORMING FOAM (“AFFF”)

      87.    AFFF is a type of water-based foam that was first developed in the 1960s

to extinguish flammable liquid fuel fires at airports and military bases, among other

places.

      88.    The AFFF designed, manufactured, marketed, distributed, and/or sold

by Defendants contained either or both PFOA and PFOS, or the chemical precursors

to PFOA or PFOS.

      89.    PFOS and/or the chemical precursors to PFOS contained in 3M’s AFFF

were manufactured by 3M’s patented process of electrochemical fluorination (“ECF”).

      90.    All other Defendants manufactured fluorosurfactants for use in AFFF

through the process of telomerization. Telomerization produced fluorotelomers,

including PFOA and/or the chemical precursors to PFOA.

      91.    AFFF can be made without PFOA, PFOS, or their precursor chemicals,

that do not release PFOA, PFOS, and/or their precursor chemicals into the

environment or in humans.

      92.    When used as the Defendants intended and directed, Defendants’ AFFF

releases PFOA, PFOS, and/or their precursor chemicals into the environment.

      93.    Once PFOA and PFOS are free in the environment, these chemicals do

not hydrolyze, photolyze, or biodegrade under typical environmental conditions and

are extremely persistent in the environment. Because of their persistence, they are

widely distributed throughout soil, air, and groundwater.



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    19
     2:22-cv-02308-RMG     Date Filed 07/19/22    Entry Number 1    Page 20 of 55




      94.    Due to the chemicals’ persistent nature, among other things, these

chemicals have, and continue to cause injury and damage to Plaintiff.

C.    DEFENDANTS’ KNOWLEDGE

      95.    On information and belief, by the early 1980s, Defendants knew, or

reasonably should have known, among other things, that: (a) PFOA and PFOS are

toxic; and (b) when sprayed in the open environment per the instructions given by

the manufacturer, PFOA and PFOS readily migrate through the subsurface, mix

easily with groundwater, resist natural degradation, render drinking water unsafe

and/or non-potable, and can be removed from public drinking water supplies only at

substantial expense.

      96.    Defendants also knew or reasonably should have known that PFOA and

PFOS could be absorbed into the lungs and gastrointestinal tract, potentially causing

severe damage to the liver, kidneys, and central nervous system, in addition to other

toxic effects, and that PFOA and PFOS are known carcinogens which cause genetic

damage.

      97.    In 1980, 3M published data in peer- reviewed literature showing that

humans retain PFOS in their bodies for years. Based on that data, 3M estimated that

it could take a person up to 1.5 years to clear just half of the accumulated PFOS from

their body after all exposures had ceased.

      98.    By the early 1980s, the industry suspected a correlation between PFOS

exposure    and   human   health   effects.   Specifically,   manufacturers   observed

bioaccumulation of PFOS in workers’ bodies and birth defects in children of workers.



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    20
    2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1   Page 21 of 55




      99.    In 1981, DuPont tested for and found PFOA in the blood of female plant

workers in Parkersburg, West Virginia. DuPont observed and documented pregnancy

outcomes in exposed workers, finding two of seven children born to female plant

workers between 1979 and 1981 had birth defects—one an “unconfirmed” eye and

tear duct defect, and one a nostril and eye defect.

      100.   Beginning in 1983, 3M documented a trend of increasing levels of PFOS

in the bodies of 3M workers. In an internal memo, 3M’s medical officer warned “we

must view this present trend with serious concern. It is certainly possible that …

exposure opportunities are providing a potential uptake of fluorochemicals that

exceeds excretion capabilities of the body.”

      101.   Based on information and belief, in 2000, under pressure from the EPA,

3M announced that it was phasing out PFOS and U.S. production of PFOS; 3M’s

PFOS-based AFFF production did not fully phase out until 2002.

      102.   From 1951, DuPont, and on information and belief, Chemours, designed,

manufactured, marketed, and sold fluorochemical products, including Teflon

nonstick cookware, and more recently, PFAS feedstocks, such as Forafac 1157 N, for

the use in the manufacture of AFFF products.

      103.   Based on information and belief, in 2001 or earlier, DuPont

manufactured, produced, marketed, and sold fluorochemical products and/or PFAS

feedstocks to some or all of the AFFF product manufacturers for use in their AFFF

products.

      104.   DuPont had been studying the potential toxicity of PFOA since at least



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    21
    2:22-cv-02308-RMG      Date Filed 07/19/22   Entry Number 1    Page 22 of 55




the 1960s and knew that it was contaminating drinking water drawn from the Ohio

River, and did not disclose to the public or to government regulators what they knew

about the substance’s potential effects on humans, animals, and/or the environment.

       105.   By December 2005, the EPA uncovered evidence that DuPont concealed

the environmental and health effects of PFOA, and the EPA announced the “Largest

Environmental Administrative Penalty in Agency History.” The EPA fined DuPont

for violating the Toxic Substances Control Act “Section 8(e)—the requirement that

companies report to the EPA substantial risk information about chemicals they

manufacture, process or distribute in commerce.”

       106.   By July 2011, DuPont could no longer credibly dispute the human

toxicity of PFOA, which it continued to manufacture. The “C8 Science Panel” created

as part of the settlement of a class action over DuPont’s releases from its Washington

Works plant reviewed the available scientific evidence and concluded that a “probable

link” exists between PFOA exposure and the serious (and potentially fatal) conditions

of pregnancy-induced hypertension and preeclampsia. By October 2012, the C8

Science Panel concluded that a probable link also exists between PFOA and five other

conditions—high cholesterol, kidney cancer, thyroid disease, testicular cancer, and

ulcerative colitis.

       107.   In July 2015, DuPont spun off its chemicals division by creating

Chemours as a new publicly traded company, once wholly owned by DuPont. By mid-

2015, DuPont had dumped its perfluorinated chemical liabilities into the lap of the

new Chemours.



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    22
    2:22-cv-02308-RMG     Date Filed 07/19/22   Entry Number 1    Page 23 of 55




      108.   Notwithstanding    this   knowledge,   Defendants    negligently     and

carelessly: (1) designed, manufactured, marketed, distributed, and/or sold AFFF

products containing fluorochemicals, and/or fluorochemical products for use in AFFF;

(2) failed to issue instructions on how AFFF containing fluorochemical products

should be used and disposed of; (3) failed to recall and/or warn the users of

fluorochemical products, negligently designed products containing or degrading into

PFOA and/or PFOS, of the dangers of surface water, soil, and groundwater

contamination as a result of standard use and disposal of these products; and (4)

further failed and refused to issue the appropriate warnings and/or recalls to the

users of fluorochemical products, notwithstanding the fact that Defendants knew

foreseeable the identities of the purchasers and end users of the fluorochemical

products, as well as the final fate of fluorochemical products in water and biota,

including in humans.

               ANDREW JON KELLER’S EXPOSURE TO AFFF

      109.   Upon information and belief, the United States Department of Defense

thru the United States Air Force has stored and used Defendants’ AFFF containing

PFOA or PFOS chemicals and/or their precursor chemicals in firefighter training and

response exercises.

      110.   For decades, AFFF containing PFAS have been used in firefighter

training and response exercises at military bases, airports and fire departments

across the country, including at Chanute Aire Force Base located in Champaign

County, Illinois, and Whiteman Air Force Base located in Johnson County, Missouri.



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    23
    2:22-cv-02308-RMG      Date Filed 07/19/22   Entry Number 1   Page 24 of 55




The AFFF containing PFAS, which were designed, manufactured, marketed,

distributed and/or sold by Defendants, was expected to, and did, reach the United

States Air Force at Chanute Aire Force Base located in Champaign County, Illinois,

and Whiteman Aire Force Base located in Johnson County, Missouri without

substantial change in the condition in which it was sold.

      111.   Defendants designed, manufactured, marketed, distributed, and/or sold

the AFFF containing PFOA or PFOS chemicals and/or their precursor chemicals to

the United States Air Force at Chanute Aire Force Base located in Champaign

County, Illinois, and Whiteman Aire Force Base located in Johnson County, Missouri.

      112.   The descriptive labels and material safety data sheets for Defendants’

AFFF containing PFOA or PFOS and/or their precursor chemicals utilized by

firefighters in the United States Air Force did not reasonably or adequately describe

the AFFF’s risks to human health.

      113.   The Defendants knew or should have known of the hazards of AFFF

containing PFOA or PFOS and/or their precursor chemicals when the products were

manufactured.

      114.   In 1987, Plaintiff enrolled in the United States Air Force and completed

his basic training between September 1978 until October 1978.

      115.   From approximately October 1978 until January 1979, Plaintiff trained

with Defendants’ AFFF to obtain his specialized training in firefighting at Chanute

Aire Force Base located in Champaign County, Illinois.

      116.   From approximately January 1979 until January 1982, Plaintiff trained



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    24
    2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1     Page 25 of 55




and worked with Defendants’ AFFF on active fires at Whiteman Air Force Base

located in Johnson County, Missouri with a three-month temporary duty assignment

in South Korea during this time period.

       117.   Throughout his years of service as a military firefighter with the United

States Air Force, Plaintiff was exposed to, inhaled and ingested Defendants’ AFFF

and fluorochemical products.

       118.   During Plaintiff’s exposure to Defendants’ AFFF products containing

PFOA and/or PFOS and/or their precursor chemicals, Plaintiff ingested such

products, and the PFOA and/or PFOS and/or their precursor chemicals entered

Plaintiff’s body.

       119.   At no point during his trainings or servicer did Plaintiff receive any

warning that Defendants’ AFFF products containing PFOA and/or PFOS and/or their

precursor chemicals were toxic or carcinogenic.

       120.   In approximately 2001, Plaintiff’s doctors diagnosed Plaintiff with

prostate cancer and performed a removal surgery of his prostate.

       121.   Plaintiff suffered, and continues to suffer, the effects of his illness

proximately caused by exposure to Defendants’ fluorochemical products.

                               CAUSES OF ACTION

                             COUNT I. NEGLIGENCE

       122.   Plaintiffs hereby incorporate by reference all allegations contained in

the preceding paragraphs of this Complaint as if restated in full therein.

       123.   As manufacturers, refiners, formulators, distributors, suppliers, sellers,



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    25
    2:22-cv-02308-RMG        Date Filed 07/19/22   Entry Number 1     Page 26 of 55




marketers, shippers, or handlers of fluorochemical products, Defendants owed a duty

to Plaintiff to exercise reasonable care in the instructing, labeling, and warning of the

handling, control, use and disposal of Defendants’ fluorochemical products.

      124.     Defendants also voluntarily assumed a duty towards Plaintiff by

affirmatively representing to Plaintiff that Defendants’ previously detailed acts

and/or omissions were not causing any physical harm or other damage to him, and

that Defendants’ fluorochemical products were safe to use.

      125.     Defendants’   fluorochemical   products    are   inherently    dangerous

substances and Defendants’ owed a duty of care towards the Plaintiff that was

commensurate with the harmful nature of the fluorochemical products and the

dangers involved with exposure to fluorochemical products.

      126.     Defendants failed to correct, clarify, rescind, and/or qualify its

representations to Plaintiff that Defendants’ acts and/or omissions were not causing

any physical harm and/or damage to him, or that the fluorochemical products were

safe to use.

      127.     Despite knowing that their fluorochemical products are toxic, can

contaminate soil and water resources, and present significant risks to human health

and the environment, Defendants failed to use reasonable care when they: (a)

designed, manufactured, formulated, handled, labeled, instructed, controlled,

marketed, promoted, and/or sold fluorochemical products; (b) issued instructions on

how fluorochemical products should be used and disposed of; (c) failed to recall and/or

warn the users of fluorochemical products of the dangers to human health and water



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    26
    2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1    Page 27 of 55




contamination as a result of standard use and disposal of these products; and (d)

failed and refused to issue the appropriate warnings and/or recalls to the users of

fluorochemical products regarding the proper use and disposal of these products,

notwithstanding the fact that Defendants knew, or could determine with reasonable

certainty, the identity of the purchasers of their fluorochemical products.

      128.   But for Defendants’ negligent acts and/or omissions, Plaintiff would not

have been exposed to unhealthy levels of fluorochemicals.

      129.   Defendants’ failure to act with reasonable care to (1) design a product to

perform safely; (2) failure to issue an adequate warning or instruction on the use of

fluorochemical products warning and; (3) failure to issue a recall, were substantial

factors in causing Plaintiff’s harm.

      130.   Defendants knew or reasonably should have known that users would not

realize the danger Defendant’s fluorochemical products posed to human health.

      131.   A reasonable manufacturer or distributor under the same or similar

circumstances would have warned of the danger.

      132.   Defendants’ negligent acts and omissions directly and proximately

caused Plaintiff’s testicular cancer and continue to directly and proximately cause

damage to Plaintiff in the form of severe personal injuries, pain, suffering, and

emotional distress.

      133.   Plaintiff is reasonably certain to have future permanent and lasting

detrimental health effects due to Plaintiff’s present and past injuries directly and

proximately caused by Defendants’ negligent acts or omissions.



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    27
    2:22-cv-02308-RMG         Date Filed 07/19/22   Entry Number 1    Page 28 of 55




          134.   It has been reasonably foreseeable to Defendants for at least several

decades that Defendants’ negligent acts and/or omissions would directly and

proximately cause bodily injury and economic damage to Plaintiff including the

injuries and damages that Plaintiff suffers from.

          135.   Defendants’ were conscious of the dangers of fluorochemical products,

and its negligent acts or omissions, and were conscious that bodily injury to Plaintiff

would or was likely to result from the fluorochemical products and Defendants’

negligent acts and/or omissions. Nevertheless, with reckless indifference to these

consequences, and as previously detailed, Defendants consciously and intentionally

acted negligently and/or omitted the duties Defendants knew it owed to Plaintiff,

other exposed individuals, and the public at large, and Plaintiff was harmed as a

result.

          136.   The acts and omissions of Defendants were negligent, intentional,

reckless, malicious, willful and/or wanton, and as a direct and proximate result

Plaintiff, has suffered and will continue to suffer some or all of the following damages:

                 a.    Medical and hospital bills for diagnosis, monitoring, and
                       treatment of injuries;

                 b.    Physical injury, both temporary and permanent;

                 c.    Economic Damages;

                 d.    Severe and significant emotional distress and mental pain
                       and suffering;

                 e.    Humiliation, embarrassment and fear;

                 f.    Loss of enjoyment of life;



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    28
    2:22-cv-02308-RMG       Date Filed 07/19/22    Entry Number 1     Page 29 of 55




              g.    Annoyance and inconvenience; and

              h.    Other damages, which, under the law and circumstances,
                    Plaintiff is entitled to recover, including attorneys’ fees and
                    costs associated with the prosecution of this action.

      WHEREFORE, the Plaintiffs pray judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

                        COUNT II. NEGLIGENCE PER SE

      137.    Plaintiffs incorporate herein by reference each and every paragraph of

this Complaint as though set forth in full in this cause of action.

      138.    One or more federal statutes, including but not limited to 15 U.S.C. §§

2607 and 2614, 33 U.S.C. §§ 1311(a) and 1342, and 42 U.S.C. §§ 6921-6939e, impose

duties of care on Defendants with regard to Defendants’ actions and/or omissions

towards Plaintiff and/or Plaintiff’s safety.

      139.    By Defendants’ acts and/or omissions resulting in harm to Plaintiff,

Defendants’ violated and/or continue to violate and/or breach one or more federal

statutes and/or duties, including but not limited to 15 U.S.C. §§ 2607 and 2614, 33

U.S.C. §§ 1311(a) and 1342, and 42 U.S.C. §§ 6921-6939e, constituting negligence per

se, including liability for all injuries to Plaintiff associated with the fluorochemical

products.

      140.    Defendants’ violation of law and breach of its statutory duties directly

and proximately caused and continue to directly and proximately cause damage to



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    29
     2:22-cv-02308-RMG        Date Filed 07/19/22   Entry Number 1    Page 30 of 55




Plaintiff in the form of economic damage and bodily injury for which Defendants are

liable.

                 WHEREFORE, the Plaintiffs pray judgments against the Defendants

for actual, compensatory, consequential, and punitive damages, together with the

costs of this action, and for such other and further relief as this Court may deem fit,

just, and proper.

     COUNT III. PAST AND CONTINUING TRESSPASS AND BATTERY

          141.   Plaintiffs incorporate herein by reference each and every paragraph of

this Complaint as though set forth in full in this cause of action.

          142.   Defendants have known for several decades that their fluorochemical

products are harmful and toxic to humans and animals, and once ingested, will

remain in a person’s body for a long time, including through binding to blood and/or

tissues.

          143.   Despite   such   knowledge,   Defendants    continued    to   use    the

fluorochemical products, which caused harmful physical contact with Plaintiff.

          144.   Defendants’ continued actions with knowledge that such actions will

result in harmful physical contact with Plaintiff demonstrate intent and/or reckless

indifference by Defendants without regard to the harm they have caused and will

cause.

          145.   Defendants’ intentional acts and/or omissions have resulted in

fluorochemicals, in the body of Plaintiff or otherwise unlawful and harmful invasion,

contact, and/or presence of fluorochemicals in Plaintiff’s body, which interferes with



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    30
    2:22-cv-02308-RMG       Date Filed 07/19/22    Entry Number 1   Page 31 of 55




Plaintiff’s rightful use and possession of Plaintiff’s body.

      146.   The fluorochemicals present in and/or on Plaintiff’s body originating

from Defendants’ fluorochemical products was at all relevant times hereto, and

continues to be, the property of Defendants.

      147.   The invasion and presence of the fluorochemical products in and/or on

Plaintiff’s body was and continues to be unconsented and without permission or

authority from Plaintiff or anyone who could grant such permission or authority.

      148.   Defendants’ intentional acts and/or omissions were done with the

knowledge and/or belief that the invasion, contact, and/or presence of fluorochemical

products onto, and/or into Plaintiff’s body were substantially certain to result from

those acts and/or omissions.

      149.   Harmful contact with Plaintiff’s body was the direct and/or indirect

result of Defendant’s intentional acts and/or omissions.

      150.   The presence and continuing presence of the fluorochemical products in

and/or on Plaintiff’s body is offensive, unreasonable, and/or harmful and constitutes

a continuing and/or permanent trespass and battery.

      151.   Defendants’ past and continuing trespass and battery upon Plaintiff’s

body directly and proximately caused and continues to directly and proximately cause

damage to Plaintiff in the form of bodily injury, for which Defendants are liable.

      WHEREFORE, the Plaintiffs pray judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    31
    2:22-cv-02308-RMG         Date Filed 07/19/22   Entry Number 1   Page 32 of 55




and proper.

     COUNT IV. STRICT PRODUCTS LIABILITY – FAILURE TO WARN

      152.    Plaintiffs hereby incorporate by reference all allegations contained in

the preceding paragraphs of this Complaint as if restated in full therein.

      153.    Defendants knew or should have known that exposure to fluorochemical

products presented a substantial danger when used because it is hazardous to human

health and the environment.

      154.    Defendants knew or should have known that the manner in which they

were manufacturing, marketing, and selling fluorochemical products would result in

physical harm to Plaintiff.

      155.    Ordinary consumers of Defendants’ fluorochemical products would not

have recognized the risks.

      156.    Defendants failed to adequately warn Plaintiff of the potential risks of

fluorochemical products.

      157.    Adequate instructions and warnings on the fluorochemical products

could have reduced or avoided these foreseeable risks of harm to Plaintiff’s health.

      158.    Had Defendants provided adequate warnings, Plaintiff could have taken

measures to avoid or lessen the exposure.

      159.    The lack of sufficient warnings was a substantial factor in causing

Plaintiff’s harm. As Defendants’ products were:

              1.    Defective because they failed to contain adequate
                    warnings;

              2.    Defectively Designed because they are more dangerous


PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    32
    2:22-cv-02308-RMG          Date Filed 07/19/22   Entry Number 1   Page 33 of 55




                    than would be contemplated by an ordinary user, and also
                    because the risks of the products outweigh their benefits;
                    and

             3.     Defectively Manufactured as they failed to comply with
                    their own specifications.

      160.   Defendants’ failure to warn was a direct and proximate cause of

Plaintiff’s prostate cancer.

      161.   Defendants’ failure to provide adequate and sufficient warnings for the

fluorochemical products that they manufactured, marketed, and sold renders the

fluorochemical products defective products.

      162.   As a direct and proximate result of Defendants’ defective design,

Plaintiff has suffered and will continue to suffer some or all of the following damages:

             a.     Medical and hospital bills for diagnosis, monitoring, and
                    treatment of injuries;

             b.     Physical injury, both temporary and permanent;

             c.     Economic Damages;

             d.     Severe and significant emotional distress and mental pain
                    and suffering;

             e.     Humiliation, embarrassment and fear;

             f.     Loss of enjoyment of life;

             g.     Annoyance and inconvenience; and

             h.     Other damages, which, under the law and circumstances,
                    Plaintiff is entitled to recover, including attorneys’ fees and
                    costs associated with the prosecution of this action.

      163.   As a result of Defendants’ manufacture, sale, and/or distribution of a

defective product, Defendants are strictly liable in damages to Plaintiff.


PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    33
    2:22-cv-02308-RMG        Date Filed 07/19/22      Entry Number 1   Page 34 of 55




       164.   Defendants’ acts were willful, wanton, reckless, and/or conducted with

a reckless indifference to the rights of Plaintiff.

       WHEREFORE, the Plaintiffs pray judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

COUNT V. PRODUCTS LIABILITY – DEFECTIVE DESIGN – RISK-UTILITY

       165.   Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this Complaint as if restated in full therein.

       166.   At all times relevant to the Complaint, Defendants were regularly

engaged in the design, formulation, production, creation, making, construction,

assembly, rebuilding, sale, distribution, preparation, and labeling, of fluorochemical

products.

       167.   At all times pertinent to this Complaint, Defendants regularly

participated in placing the fluorochemical products into the American stream of

commerce.

       168.   As manufacturers, designers, refiners, formulators, distributors,

suppliers, sellers, and marketers of fluorochemical products, Defendants owed a duty

to all persons whom Defendants’ products might foreseeably harm, including

Plaintiff, not to manufacture, sell, or market any product which is unreasonably

dangerous for its intended and foreseeable uses.

       169.   Defendants’ fluorochemical products were defectively designed and



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    34
    2:22-cv-02308-RMG      Date Filed 07/19/22   Entry Number 1    Page 35 of 55




manufactured when the products left the hands of Defendants, such that the

foreseeable risks associated with the use, storage, and disposal of the fluorochemical

products exceeded the alleged benefits associated with its design and formulation.

      170.   At all times relevant to this litigation, Defendants’ fluorochemical

products reached Defendants’ intended consumers and users without substantial

change in its condition as designed, manufactured, sold, distributed, labeled, and

marketed by Defendants.

      171.   Defendants could have manufactured, marketed, and sold alternative

designs or formulations of products that did not contain harmful fluorochemicals.

      172.   These alternative designs and/or formulations were available, practical,

and technologically feasible.

      173.   The use of these alternative designs would have reduced or prevented

the reasonably foreseeable harm to human health that was caused by the Defendants’

manufacture, marketing, and sale of fluorochemical products.

      174.   The fluorochemical products manufactured, sold, or distributed by the

Defendants were defective in design because the foreseeable risk of harm posed by

the fluorochemical products could have been reduced or eliminated by the adoption

of a reasonable alternative design.

      175.   As a direct and proximate result of Defendants’ defective design,

Plaintiff, other exposed individuals, and the public at large have suffered and will

continue to suffer some or all of the following damages:

             a.     Medical and hospital bills for diagnosis, monitoring, and
                    treatment of injuries;


PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    35
    2:22-cv-02308-RMG        Date Filed 07/19/22    Entry Number 1     Page 36 of 55




              b.     Physical injury, both temporary and permanent;

              c.     Economic Damages;

              d.     Severe and significant emotional distress and mental pain
                     and suffering;

              e.     Humiliation, embarrassment and fear;

              f.     Loss of enjoyment of life;

              g.     Annoyance and inconvenience; and

              h.     Other damages, which, under the law and circumstances,
                     Plaintiff is entitled to recover, including attorneys’ fees and
                     costs associated with the prosecution of this action.

       176.   As a result of Defendants’ design and formulation of a defective product,

Defendants are strictly liable in damages to Plaintiff.

       177.   Defendants’ acts were willful, wanton, reckless and/or conducted with a

reckless indifference to the rights of Plaintiff.

       WHEREFORE, the Plaintiffs pray judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

         COUNT VI. PRODUCTS LIABILITY – DEFECTIVE DESIGN

       178.   Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this Complaint as if restated in full therein.

       179.   At all times relevant to the Complaint, Defendants were regularly

engaged in the design, formulation, production, creation, making, construction,



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    36
    2:22-cv-02308-RMG      Date Filed 07/19/22     Entry Number 1   Page 37 of 55




assembly, rebuilding, sale, distribution, preparation, and labeling, of fluorochemical

products.

      180.   At all times pertinent to this Complaint, Defendants regularly

participated in placing the fluorochemical products into the American stream of

commerce.

      181.   As manufacturers, designers, refiners, formulators, distributors,

suppliers, sellers, and/or marketers of fluorochemical products, Defendants owed a

duty to all persons whom Defendants’ products might foreseeably harm, including

Plaintiff, not to manufacture, sell, and/or market any product which is unreasonably

dangerous for its intended and foreseeable uses.

      182.   Plaintiff used Defendants’ fluorochemical products in a reasonably

foreseeable manner and without substantial changes in the condition in which the

products were sold.

      183.   Defendants’ fluorochemical products used by Plaintiff did not perform

as safely as an ordinary consumer would have expected the products to perform when

used as Plaintiff did in an intended or reasonably foreseeable manner because PFOA

and PFOS are carcinogens and otherwise harmful to human health.

      184.   Defendants’ defective design of the fluorochemical products was far

more dangerous than Plaintiff or an ordinary consumer would expect when used, as

Plaintiff did, in an intended and reasonably foreseeable manner.

      185.   Defendants’ fluorochemical products failure to perform safely was a

substantial factor in causing Plaintiff’s harm.



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    37
    2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1     Page 38 of 55




      186.   Defendants could have manufactured, marketed, and sold alternative

designs or formulations of products that did not contain harmful fluorochemicals.

      187.   These alternative designs and/or formulations were available, practical,

and technologically feasible.

      188.   The use of these alternative designs would have reduced or prevented

the reasonably foreseeable harm to human health that was caused by Defendants’

manufacture, marketing, and/or sale of fluorochemical products.

      189.   The risks of fluorochemical products were not obvious to users of the

AFFF, nor were they obvious to users in the vicinity of the AFFF use, including

Plaintiff, who were unwittingly exposed to Defendants’ toxic and carcinogenic

chemicals. Plaintiff could not have reasonably discovered the defects and risks

associated with the use of fluorochemical products and could not protect themselves

from exposure to Defendants’ fluorochemical products.

      190.   As a direct and proximate result of Defendants’ defective design,

Plaintiff has suffered and will continue to suffer some or all of the following damages:

             a.     Medical and hospital bills for diagnosis, monitoring, and
                    treatment of injuries;

             b.     Physical injury, both temporary and permanent;

             c.     Economic Damages;

             d.     Severe and significant emotional distress and mental pain
                    and suffering;

             e.     Humiliation, embarrassment and fear;

             f.     Loss of enjoyment of life;



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    38
    2:22-cv-02308-RMG        Date Filed 07/19/22    Entry Number 1     Page 39 of 55




              g.     Annoyance and inconvenience; and

              h.     Other damages, which, under the law and circumstances,
                     Plaintiff is entitled to recover, including attorneys’ fees and
                     costs associated with the prosecution of this action.

       191.   As a result of Defendants’ design and formulation of a defective product,

Defendants are strictly liable in damages to Plaintiff.

       192.   Defendants’ acts were willful, wanton, reckless and/or conducted with a

reckless indifference to the rights of Plaintiff.

       WHEREFORE, the Plaintiffs pray judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

                   COUNT VII. STRICT LIABILITY (STATUTORY)

       193.   Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this Complaint as if restated in full herein.

       194.   Plaintiff asserts any and all remedies available under statutory causes

of action from Plaintiff’s state for strict liability against each Defendant.

       195.   The Defendants were engaged in designing, manufacturing, marketing,

selling, and distribution of AFFF.

       196.   AFFF was in a defective condition and unreasonably dangerous to users

and/or consumers when designed, manufactured, marketed, sold, and/or distributed

to the public by the Defendants.

       197.   As a direct and proximate result of the Defendants products’



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    39
    2:22-cv-02308-RMG      Date Filed 07/19/22   Entry Number 1     Page 40 of 55




aforementioned defects, the Plaintiff has been injured, sustained severe and

permanent pain, suffering, disability, impairment, loss of enjoyment of life, loss of

care, comfort, economic loss and damages including, but not limited to medical

expenses, lost income, and other damages.

       WHEREFORE, the Plaintiffs pray judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

              COUNT VIII. STRICT LIABILITY (RESTATEMENT)

       198.   Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this Complaint as if restated in full herein.

       199.   The Plaintiff brings strict product liability claims under the common

law, Section 402A of the Restatement of Torts (Second), and/or Restatement of Torts

(Third) against Defendants.

       200.   As designed, manufactured, marketed, tested, assembled, equipped,

distributed and/or sold by the Defendants the AFFF product was in a defective and

unreasonably dangerous condition when put to reasonably anticipated use to

foreseeable consumers and users, including the Plaintiff.

       201.   The Defendants had available reasonable alternative designs which

would have made the AFFF product safer and would have most likely prevented the

injuries and damages to the Plaintiff, thus violating state law and the Restatement

of Torts.



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    40
    2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1      Page 41 of 55




      202.    The Defendants failed to properly and adequately warn and instruct the

Plaintiff as to the proper safety and use of the Defendants product.

      203.    The Defendants failed to properly and adequately warn and instruct the

Plaintiff regarding the inadequate research and testing of the product.

      204.    The Defendants’ products are inherently dangerous and defective, unfit

and unsafe for their intended and reasonably foreseeable uses, and do not meet or

perform to the expectations.

      205.    As a proximate result of the Defendants’ design, manufacture,

marketing, sale, and distribution of the products, the Plaintiff has been injured and

sustained severe and permanent pain, suffering, disability, impairment, loss of

enjoyment of life, loss of care, comfort, and consortium, and economic damages.

      206.    By reason of the foregoing, the Defendants are strictly liable for the

injuries and damages suffered by the Plaintiff, caused by these defects in the AFFF

product.

      WHEREFORE, the Plaintiffs pray judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

    COUNT IX. CONCEALMENT MISREPRESENTATION AND FRAUD

      207.    Plaintiffs incorporate herein by reference each and every paragraph of

this Complaint as though set forth in full in this cause of action.




PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    41
    2:22-cv-02308-RMG      Date Filed 07/19/22   Entry Number 1     Page 42 of 55




      208.   Defendants knowingly, intentionally, maliciously, willfully, wantonly,

recklessly and/or negligently failed and/or refused to advise Plaintiff of the dangers

and/or health risks posed by Defendants’ fluorochemical products.

      209.   Defendants negligently, knowingly, maliciously, willfully, wantonly,

recklessly, intentionally, and/or negligently withheld, misrepresented, and/or

concealed information regarding Defendants’ fluorochemical products from Plaintiff

who had a right to know of information which would have prevented Plaintiff from

being exposed and/or continuing to be exposed to the fluorochemical products.

      210.   For at least several decades, Defendants had knowledge or the means of

knowledge that Defendants’ fluorochemical products were causally connected with or

could increase the risk of causing damage to humans and animals, including

knowledge of statistically significant findings showing a causal connection between

exposure to fluorochemical products and physical injuries in humans and animals.

      211.   In connection with the fluorochemical products, Defendants have had

and continue to have a general duty of care to disclose to Plaintiff the actual and

potential harm to their persons as a direct and proximate result of Defendants’ acts

and/or omissions, including a general duty of care to disclose to Plaintiff that

Defendants had, and were continuingly, exposing Plaintiff to harmful levels of

fluorochemicals.

      212.   In addition to its general duty of care, Defendants also voluntarily

assumed a duty to disclose to Plaintiff the actual and potential harm to his body as a

direct and proximate result of Defendants’ acts and/or omissions, including a duty to



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    42
    2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1   Page 43 of 55




disclose to Plaintiff that Defendants had exposed, and were continuingly exposing

Plaintiff to harmful fluorochemical products, which duty was voluntarily assumed by

affirmatively representing to Plaintiff that the Defendants and their fluorochemical

exposure were harmless, when Defendants knew and/or reasonably should have

known that the Defendants’ fluorochemical products caused, and were continuing to

cause, bodily injury.

        213.   Through Defendants’ superior knowledge, responsibility, and/or control

over the fluorochemical products, and Defendants’ voluntary actions and/or

representations, a relationship of trust and confidence existed between Defendants

and Plaintiff.

        214.   Despite Defendants’ knowledge regarding fluorochemical exposure, and

despite Defendants’ duties to disclose to Plaintiff, Defendants negligently,

maliciously, knowingly, willfully, wantonly, recklessly and/or intentionally withheld,

misrepresented, and/or concealed information from Plaintiff regarding exposure to

fluorochemical products.

        215.   Defendants withheld, misrepresented, and/or concealed information

regarding fluorochemical exposure from Plaintiff with the intention to mislead and/or

defraud him into believing that their fluorochemical exposure was not harmful, and

to mislead and/or defraud him into continuing to use the fluorochemical products.

        216.   Defendants withheld, misrepresented, and/or concealed information

regarding fluorochemical exposure that was a substantial factor in causing Plaintiff’s

harm.



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    43
    2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1      Page 44 of 55




      217.   As a direct and proximate result of the aforesaid acts and/or omissions

by Defendants, acting for and on its own behalf and as agent, ostensible agent,

employee, conspirator and/or joint venture of others, Plaintiff was exposed to

Defendants’ fluorochemical products and was injured.

      218.   Defendants not only withheld, misrepresented, and/or concealed

material information from Plaintiff but also committed fraud against Plaintiff by

affirmatively representing to Plaintiff that their fluorochemical products were

harmless and/or did not present any risk of harm, when Defendants knew, reasonably

should have known, and/or with utter disregard and recklessness as to whether it

was true or not, that Defendants’ fluorochemical products had caused, and were

continuing to cause, bodily injury and/or risk of such bodily injury to Plaintiff.

      219.   Defendants’ representations to Plaintiff were knowingly, intentionally,

negligently, and/or recklessly false.

      220.   Defendants had, and continue to have, a duty of care to provide Plaintiff,

with truthful representations regarding the actual and potential harm to his person

as a direct and proximate result of Defendants’ acts and/or omissions, and Defendants

voluntarily assumed a duty of care to provide Plaintiff with truthful representations

regarding Defendants’ fluorochemical products and the actual and potential harm to

his persons as a direct and proximate result of Defendants’ acts and/or omissions.

      221.   Defendants’ affirmative representations and/or omissions to Plaintiff

were false and were material to Plaintiff in forming his belief that Defendants’

fluorochemical products were safe, in causing him to continue to use the



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    44
    2:22-cv-02308-RMG           Date Filed 07/19/22   Entry Number 1     Page 45 of 55




fluorochemical products, and in causing him to not seek treatment and/or ways to

remedy his past and continuing exposure to fluorochemical products.

         222.   Defendants made the affirmative representations and/or omissions to

Plaintiff with the intention that Plaintiff would be misled into relying on such

affirmative representations and/or omissions.

         223.   Plaintiff relied on Defendants’ affirmative representations and/or

omissions in forming his belief that Defendants’ fluorochemical products were safe in

causing them to continue to use the fluorochemical products, and in not seeking

treatment and/or ways to remedy his past and continuing exposure to Defendants’

fluorochemical products.

         224.   Plaintiff was damaged and physically harmed as a direct and proximate

result    of    their   justified   reliance   on   Defendants’   affirmative,   fraudulent

representations and/or omissions and, as a direct and proximate result of such

justified reliance, Plaintiff continued to use the fluorochemical products.

         WHEREFORE, the Plaintiffs pray judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

     COUNT X. BREACH OF EXPRESS AND IMPLIED WARRANTIES

         225.   Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this Complaint as if restated in full herein.

         226.   At all times relevant hereto, the Defendants manufactured, marketed,



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    45
    2:22-cv-02308-RMG      Date Filed 07/19/22    Entry Number 1    Page 46 of 55




labeled, and sold the AFFF products that has been previously alleged and described

herein.

      227.    At the time the Defendants designed, developed, marketed, sold,

labeled, and distributed the AFFF products, the Defendants knew of the use for which

it was intended, and implied and/or expressly warranted that the product was

merchantable, safe, and fit for its intended purpose.

      228.    The Defendants warranted that the product was merchantable and fit

for the particular purpose for which it was intended and would be reasonably safe.

These warranties were breached, and such breach proximately resulted in the

injuries and damages suffered by the Plaintiff.

      229.    The Plaintiff is within the class of foreseeable users and reasonably

relied upon Defendants' judgment, and the implied and/or express warranties in

using the products.

      230.    The Defendants breached their implied and/or express warranties and

did not meet the expectations for the performance of the product when used for its

intended use and was neither of merchantable quality nor safe for its intended use in

that the product has a propensity to cause serious injury, pain, and cancer.

      WHEREFORE, the Plaintiffs pray judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.




PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    46
     2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1     Page 47 of 55




                             COUNT XI. WANTONESS

       231.   Defendants and their employees, agents, officers, and representatives

owed a duty of care to end users of their AFFF products, including Plaintiff.

       232.   Defendants breached the duty of care owed to the Plaintiff.

       233.   The actions of Defendants and their employees, agents, officers, and

representatives were willful and wanton and exhibited a reckless disregard for the

life, health, and safety of the end users of Defendants’ AFFF products, including

Plaintiff.

       234.   As a proximate and foreseeable consequent of the actions of Defendants,

Plaintiff was exposed to unreasonably dangerous toxic PFAS containing AFFF, which

caused Plaintiff’s injury.

       WHEREFORE, the Plaintiffs pray judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

         COUNT XII. NEGLIGENT, INTENTIONAL, AND RECKLESS
                INFLICTION OF EMOTIONAL DISTRESS

       235.   Plaintiffs incorporate herein by reference each and every paragraph of

this Complaint as though set forth in full in this cause of action.

       236.   Defendants’ acts and/or omissions were negligent, intentional, and/or

reckless, including Defendants’ continued pollution of the environment and resultant

exposure of Plaintiff to harmful fluorochemical products, despite knowing for decades

that such exposure was causing and would continue to cause harm and/or


PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    47
    2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1   Page 48 of 55




unacceptable risk of harm to Plaintiff.

       237.   Defendants’ negligently, knowingly and/or intentionally withheld and

concealed material information from and/or affirmatively misrepresented to Plaintiff

that they were not exposed to harmful fluorochemical products and/or that the

fluorochemical products were not causing or creating any risk of harm to them,

despite knowing at the time these concealments and/or misrepresentations were

made that the fluorochemical products were causing and would continue to cause

harm and/or unacceptable risk of harm to persons, including Plaintiff.

       238.   At the time of Defendants’ negligent, knowing, and/or intentional acts

and/or omissions, it was foreseeable to Defendants and Defendants were certain

and/or substantially certain that its actions and/or omissions would cause emotional

distress to Plaintiff.

       239.   Defendants’   acts   and/or   omissions   were   extreme,   outrageous,

intolerable, and/or offended the generally accepted standards of decency and

morality.

       240.   By continuing to expose Plaintiff to harmful fluorochemical products,

and continuing to misrepresent to Plaintiff that the fluorochemical products were not

and would not cause them harm or risk of harm and/or continuing to withhold and/or

conceal from Plaintiff material information on such issues, despite knowing that the

fluorochemical products were causing and would continue to cause harm and/or risk

of harm, Defendants acted in an extreme, outrageous, and intolerable manner which

offended any generally accepted standard of decency and morality.



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    48
    2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1     Page 49 of 55




      241.    Defendants’ acts and/or omissions resulting in Defendants’ concealment

and/or misrepresentations, directly and proximately caused physical harm, and

continue to cause physical harm, to Plaintiff.

      242.    Defendants’ acts and/or omissions resulting in Defendants’ concealment

and/or misrepresentations, directly and proximately caused great emotional

suffering, and continue to cause emotional suffering and distress, to Plaintiff.

      243.    Defendants’ extreme, outrageous and intolerable actions were a

substantial factor in causing Plaintiff to suffer severe physical, mental, and emotional

distress.

      244.    As a direct and proximate result of Defendants’ extreme, outrageous and

intolerable actions, Plaintiff has and will continue to suffer severe physical, mental,

and emotional distress.

      245.    No reasonable person could be expected to endure the mental anguish

caused by the knowledge that entities have negligently, knowingly, and/or

intentionally exposed them to years of harmful contact with AFFF containing PFOA

or PFOS and/or their precursor chemicals, and has furthermore actively

misrepresented and/or concealed such danger from them, while reaping hundreds of

millions of dollars in profits as a direct and proximate result.

      WHEREFORE, the Plaintiffs pray judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    49
    2:22-cv-02308-RMG       Date Filed 07/19/22   Entry Number 1      Page 50 of 55




                          COUNT IX. LOSS OF CONSORTIUM

      246.   Plaintiffs incorporate herein by reference each and every paragraph of

this Complaint as though set forth in full in this cause of action.

      247.   Spouse of Plaintiff, lives and cohabits with Plaintiff and has been

married to Plaintiff since September 26, 1992.

      248.   As a direct and proximate result of the conduct of Defendants as outlined

above, Spouse of Plaintiff has necessarily paid and/or has become liable to pay, and

will continue to pay and/or continue to be liable to pay, for medical aid, medical

treatment, and medications of Plaintiff.

      249.   As a direct and proximate result of the conduct of Defendants as outlined

above, Spouse of Plaintiff has been caused and will continue to be caused the loss of

her husband’s consortium, companionship, services, society, love, comforts, and their

martial association has been altered, and; accordingly, Spouse of Plaintiff has been

caused great mental anguish and emotional distress.

      250.   Defendants’ conduct, as described above, was willful, wanton, reckless,

malicious, fraudulent, oppressive, extreme and outrageous, and displayed an entire

want of care and a conscious and depraved indifference to the consequences of their

conduct, including to the health, safety, and welfare of their patients, and warrants

an award of punitive damages.

                        COUNT X. PUNITIVE DAMAGES

      251.   Plaintiffs hereby repeats, realleges, and reiterates each and every

allegation in the preceding paragraphs as if fully restated herein.



PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    50
    2:22-cv-02308-RMG          Date Filed 07/19/22   Entry Number 1   Page 51 of 55




      252.   At all times relevant to the present cause of action, Defendants

manufactured, marketed, and sold the fluorochemical products that were used by

Plaintiff and that resulted in the physical bodily injuries that Plaintiff has suffered

and will continue to suffer.

      253.   At the time the above-described, affirmative, voluntary, and intentional

acts were performed by Defendants, Defendants had good reason to know or expect

that their fluorochemical products were toxic chemicals capable of causing harm to

human health.

      254.   Defendants’ negligent, reckless, willful, fraudulent, and/or wanton

actions and/or intentional failures to act caused Plaintiff to be exposed to

fluorochemical products.

      255.   The willful, wanton, malicious, fraudulent and/or reckless conduct of

Defendants, includes, but is not limited to:

             a.     issuing no warnings and failing to divulge material
                    information concerning the release of fluorochemicals,
                    including but not limited to PFOA and PFOS;

             b.     failing to take all reasonable measures to ensure
                    fluorochemical products would be used effectively and
                    properly disposed of;

             c.     failing to prevent the foreseeable impacts of fluorochemical
                    exposure upon the Plaintiff; and

             d.     withholding,     misrepresenting,     and/or    concealing
                    information regarding the releases of fluorochemical
                    products and exposure from Plaintiff, other exposed
                    individuals, and the public at large with the intention to
                    mislead and/or defraud them into believing that their
                    exposure to fluorochemical products was not harmful, and
                    to mislead and/or defraud them into continuing to purchase


PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    51
     2:22-cv-02308-RMG      Date Filed 07/19/22   Entry Number 1     Page 52 of 55




                    and consume drinking          water    contaminated     with
                    fluorochemical products.

      256.    As a result of Defendants’ conduct, Plaintiff has been forced to incur and

will continue to incur significant costs related to the harm caused by Defendants’

fluorochemical products and will continue to suffer serious, debilitating, and severe

physical, mental, and emotional distress of his prostate cancer caused by Defendants’

fluorochemical products.

      257.    Defendants have demonstrated an outrageous conscious disregard for

the physical safety of Plaintiff and acted with implied malice, warranting the

imposition of punitive damages.

      258.    Upon information and belief, Defendants’ conduct involved wanton,

willful, and/or a conscious and reckless disregard for the health, safety, property, and

rights of others. The Court should award the Plaintiff punitive damages in an amount

sufficient to deter and punish such conduct.

      WHEREFORE, the Plaintiffs pray judgments against the Defendants for

actual, compensatory, consequential, and punitive damages, together with the costs

of this action, and for such other and further relief as this Court may deem fit, just,

and proper.

                 TOLLING OF THE STATUTE OF LIMIATIONS

A.    DISCOVERY RULE TOLLING

      259.    Plaintiff had no way of knowing about the risk of serious injury

associated with the use of and exposure to AFFF until very recently.




PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    52
     2:22-cv-02308-RMG        Date Filed 07/19/22      Entry Number 1       Page 53 of 55




       260.   Within the time period of any applicable statute of limitations, Plaintiff

could not have discovered, through the exercise of reasonable diligence, that exposure

to AFFF is harmful to human health.

       261.   Plaintiff did not discover and did not know of facts that would cause a

reasonable person to suspect the risk associated with the use of and exposure to

AFFF; nor would a reasonable and diligent investigation by Plaintiff have disclosed

that AFFF could cause personal injury.

       262.   For these reasons, all applicable statutes of limitations have been tolled

by operation of the discovery rule with respect to Plaintiff’s claims.

B.     FRAUDULENT CONCEALMENT TOLLING

       263.   All applicable statute of limitations have also been tolled by Defendants

knowing and active fraudulent concealment and denial of the facts alleged herein

throughout the time period relevant to this action.

       264.   Instead of disclosing critical safety information regarding AFFF, Defendants

have consistently and falsely represented the safety of AFFF products.

       265.   This fraudulent concealment continues through present day.

       266.   Due to this fraudulent concealment, all applicable statutes of limitations have

been tolled by operation of the discovery rule with respect to Plaintiff’s claims.

C.     ESTOPPEL

       267.   Defendants were under a continuous duty to consumer, end users, and

other persons coming into contact with their products, including Plaintiff, to

accurately provide safety information concerning its products and the risk associated

with the use of and exposure to AFFF.

PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    53
    2:22-cv-02308-RMG          Date Filed 07/19/22   Entry Number 1     Page 54 of 55




          268.   Instead, Defendants knowingly, affirmatively, and actively concealed

safety information concerning AFFF and the serious risks associated with the use of

and exposure to AFFF.

          269.   Based on the foregoing, Defendants are estopped from relying on any

statute of limitations in defense of this action.

                                  PRAYER FOR RELIEF

          WHEREFORE, the Plaintiffs demand judgments against Defendants, and

each of them, jointly and severally, and request the following relief from the Court:

     I.          Physical pain and suffering in the past and which, in reasonable
                 probability, Plaintiff, ANDREW JON KELLER will continue to suffer in
                 the future;

    II.          Physical impairment and incapacity in the past and which, in
                 reasonable probability, Plaintiff, ANDREW JON KELLER will continue
                 to suffer in the future;

   III.          Mental anguish in the past and which, in reasonable probability,
                 Plaintiff, ANDREW JON KELLER will sustain in the future;

   IV.           Reasonable and necessary medical expenses for treatment received in
                 the past, and, based upon reasonable medical probability, the
                 reasonable medical expenses Plaintiff, ANDREW JON KELLER will
                 incur in the future;

    V.           Disfigurement in the past and which, in reasonable probability,
                 Plaintiff, ANDREW JON KELLER will continue to suffer in the future;

   VI.           Lost wages, loss of earnings, and/or lost earning capacity that Plaintiff,
                 ANDREW JON KELLER has incurred in the past and will continue to
                 incur in the future;

  VII.           Damages for loss of society, comfort, companionship, and consortium
                 Spouse of Plaintiff, GAIL KELLER has incurred and will continue to
                 suffer in the future;




PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    54
    2:22-cv-02308-RMG        Date Filed 07/19/22   Entry Number 1    Page 55 of 55




 VIII.        Damages for loss of household services, Spouse of Plaintiff, GAIL
              KELLER has incurred and will continue to incur in the future;

   IX.        Punitive damages;

    X.        Plaintiff, ANDREW JON KELLER, and Spouse of Plaintiff, GAIL
              KELLER be awarded full, fair, and complete recovery for all claims and
              causes of action relevant to this action;

   XI.        Plaintiff, ANDREW JON KELLER, and Spouse of Plaintiff, GAIL
              KELLER be awarded all appropriate costs, fees, expenses, and
              prejudgment and post-judgment interest pursuant to the laws of the
              State of Missouri as authorized by law on the judgements entered in
              Plaintiffs’ behalf; and

  XII.        Such other relief the court deems just and proper.

                            DEMAND FOR JURY TRIAL

         Pursuant to FED. R. CIV. P. 38(b), Plaintiffs respectfully demands a jury trial

 on the issues triable by jury.


Dated: July 19, 2022                     Respectfully submitted,

                                         SIMON GREENSTONE PANATIER, P.C.


                                         /s/ Shreedhar R. Patel
                                         Shreedhar R. Patel
                                         TX Bar No. 24074864
                                         1201 Elm Street, Suite 3400
                                         Dallas, TX 75270
                                         Tel: (214) 276-7680
                                         Fax: (214) 276-7699
                                         Email: spatel@sgptrial.com

                                         Attorney for Plaintiffs




PLAINTIFFS’ ORIGINAL COMPLANT AND DEMAND FOR JURY TRIAL
                                    55
